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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


 LA UNIÓN DEL PUEBLO ENTERO, et al.,

                        Plaintiffs,

                 v.                                             Civil Action No. 5:21-cv-844 (XR)
                                                                (consolidated cases)
 GREGORY W. ABBOTT, et al.,

                        Defendants.


                      JOINT ADVISORY REGARDING SCHEDULE

       Pursuant to this Court’s direction, see Text Order (Apr. 27, 2023), the parties have met

and conferred regarding the scheduling order in this case. In light of the stay imposed on

existing deadlines, the parties propose the following new deadlines concerning the close of

discovery and pretrial motions.

   •   Supplemental expert reports required under Rule 26(e): May 19, 2023. This deadline

       would not include Dr. Dan Smith, whose Rule 26(e) report may incorporate documents

       that State Defendants intend to produce by May 22. The HAUL Plaintiffs propose that

       the deadline for Dr. Smith to produce a Rule 26(e) report be June 15, 2023. Conversely,

       State Defendants and Intervenor-Defendants propose that the deadline be June 5, 2023.

   •   State Defendants reserve the right to designate a rebuttal expert to respond to the Rule

       26(e) Report of Dr. Smith, and to serve on all parties the materials required by Fed. R.

       Civ. P. 26(a)(2)(B) for any such rebuttal expert, to the extent not already served, within

       fifteen (15) days of receipt of Dr. Smith’s report.
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•   Close of all discovery: May 19, 2023. This deadline would not foreclose further

    discovery concerning newly disclosed documents following the lifting of any stay of this

    Court’s prior orders concerning the state legislative privilege. See Order, ECF No. 561;

    Order, ECF No. 425; see also Text Order (Apr. 27, 2023); Order Granting Stay, ECF No.

    567; Order Granting Stay, ECF No. 429. This deadline would not foreclose State

    Defendants from taking out-of-time the deposition of Tania Chavez, who was disclosed

    by LUPE Plaintiffs as an individual likely to have discoverable information. State

    Defendants agreed to postpone Ms. Chavez’s deposition at LUPE Plaintiffs’ request

    following a crisis in Brownsville, Texas. The deposition will be rescheduled once the

    emergency has concluded. In addition, the parties previously agreed to keep open the

    depositions of Plaintiffs’ experts for the purposes of supplemental reports, whereby any

    additional deposition taking place after the close of expert discovery will be limited

    solely to the content of any supplemental report, and not be used to reopen any deposition

    as to the content of general expert reports except to the extent that a supplemental report

    has altered or amended the content of such general reports. This deadline will not

    foreclose any expert deposition taken pursuant to the parties’ agreement.

•   Dispositive and Daubert motions: May 26, 2023. To the extent that this Court no longer

    intends to begin trial on September 11, 2023, Private Plaintiffs propose that this deadline

    be postponed by one week, to June 2, 2023.

•   Briefs in opposition to dispositive and Daubert motions: June 23, 2023. To the extent

    that this Court adopts a June 2 motion deadline, the parties propose that this deadline also

    be postponed by one week, to June 30, 2023.




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   •   Replies in support of dispositive and Daubert motions: July 14, 2023. To the extent that

       this Court adopts a June 2 motion deadline, the parties propose that this deadline also be

       postponed by one week, to July 21, 2023.

   •   Notwithstanding any other portion of a new scheduling order, no new written discovery

       shall be propounded to, or depositions noticed to, Jacque Callanen, Bexar County

       Elections Administrator; Joe Gonzales, Bexar County Criminal District Attorney; John

       Creuzot, Dallas County Criminal District Attorney; Michael Scarpello, Dallas County

       Elections Administrator; Lisa Wise, El Paso County Elections Administrator; Yvonne

       Rosales, former El Paso County District Attorney; Clifford Tatum, Harris County

       Elections Administrator; Isabel Longoria, former Harris County Elections Administrator;

       Kim Ogg, Harris County District Attorney; Hilda A. Salinas, Hidalgo County Elections

       Administrator; Ricardo Rodriguez, Jr., former Hidalgo County Criminal District

       Attorney; Toribo “Terry” Palacios, Hidalgo County Criminal District Attorney; Yvonne

       Ramon, former Hidalgo County Elections Administrator; Dana DeBeauvoir, former

       Travis County Clerk; Dyana Limon-Mercado, Travis County Clerk; Jose Garza, Travis

       County District Attorney; and former Interim Travis County Clerk Rebecca Guerrero,

       Division Director, Travis County Clerk's Office; or to any of the successors, employees,

       offices, or departments of the foregoing.

       The parties remain ready to begin trial in this case on September 11, 2023, including

maintaining all pretrial deadlines. However, the parties take differing positions concerning the

impact of pending appeals on the viability of this trial date.

   •   The United States and the OCA Plaintiffs will be ready to begin trial on September 11,

       2023, on their claims under Section 101 of the Civil Rights Act, 52 U.S.C.


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    § 10101(a)(2)(B), regardless of the status of pending appeals concerning the state

    legislative privilege. See LULAC Texas v. Hughes, No. 22-50435 (5th Cir.); LUPE v.

    Bettencourt, No. 23-50201 (5th Cir.).

•   Private Plaintiffs, including OCA Plaintiffs, are prepared to proceed with trial on

    September 11, 2023 on the remaining claims, so long as the withheld documents are

    produced by that date or the appeals are resolved and the relevant parties are not required

    to produce the withheld documents, and provided that the parties are permitted to take

    and reopen depositions immediately—including during trial—for the limited purpose of

    addressing any newly produced documents related to the legislative privilege appeals. To

    the extent that appeals concerning legislative privilege remain pending, Private Plaintiffs

    propose that trial should not go forward without all relevant evidence. To the extent that

    documents subject to this Court’s orders concerning the state legislative privilege are

    produced soon after September 11, or appeals are resolved and the relevant parties are not

    required to produce the withheld documents, Private Plaintiffs propose that trial may

    begin on or before September 27, 2023, without interfering with County Defendants’

    administration of the November 7, 2023, General Election. See Joint Advisory at 2, ECF

    No. 576.

•   State Defendants and Intervenor-Defendants propose that trial should begin on September

    11, 2023, regardless of the status of outstanding appeals concerning the state legislative

    privilege.



    Respectfully submitted,




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Date: May 8, 2023

For the United States:                        For Mi Familia Vota Plaintiffs:

KRISTEN CLARKE                                /s/ Wendy J. Olson________________
Assistant Attorney General                    Wendy J. Olson*
                                              Laura E. Rosenbaum*
ELISE C. BODDIE                               Elijah Watkins*
Principal Deputy Assistant Attorney General   Mark Bieter*
Civil Rights Division                         Bradley Prowant*
                                              STOEL RIVES LLP
/s/ Daniel J. Freeman                         760 SW Ninth Avenue, Suite 3000
T. CHRISTIAN HERREN, JR.                      Portland, OR 97205
RICHARD A. DELLHEIM                           Telephone: (503) 224-3380
DANIEL J. FREEMAN                             Facsimile: (503) 220-2480
DANA PAIKOWSKY                                wendy.olson@stoel.com
MICHAEL E. STEWART                            laura.rosenbaum@stoel.com
JENNIFER YUN                                  elijah.watkins@stoel.com
Attorneys, Voting Section                     mark.bieter@stoel.com
Civil Rights Division                         bradley.prowant@stoel.com
U.S. Department of Justice
950 Pennsylvania Avenue NW                    Sean Lyons
Washington, D.C. 20530                        State Bar No. 00792280
daniel.freeman@usdoj.gov                      Clem Lyons
                                              State Bar No. 12742000
                                              LYONS & LYONS, P.C.
                                              237 W. Travis Street, Suite 100
                                              San Antonio, TX 78205
                                              Telephone: (210) 225-5251
                                              Facsimile: (210) 225-6545
                                              sean@lyonsandlyons.com
                                              clem@lyonsandlyons.com

                                              Courtney Hostetler*
                                              Ron Fein*
                                              John Bonifaz*
                                              Ben Clements*
                                              FREE SPEECH FOR PEOPLE
                                              1320 Centre Street, Suite 405
                                              Newton, MA 02459
                                              Telephone: (617) 249-3015
                                              chostetler@freespeechforpeople.org
                                              rfein@freespeechforpeople.org
                                              jbonifaz@freespeechforpeople.org
                                              bclements@freespeechforpeople.org
       Case 5:21-cv-00844-XR Document 594 Filed 05/08/23 Page 6 of 12




For OCA Greater Houston Plaintiffs:

/s/ Zachary Dolling_______________
Zachary Dolling                         Brian Dimmick*
Texas Bar No. 24105809                  AMERICAN CIVIL LIBERTIES UNION
Hani Mirza                              FOUNDATION
Texas Bar No. 24083512                  915 15th St. NW
Sarah Chen*                             Washington, DC 20005
California Bar No. 325327               (202) 731-2395
TEXAS CIVIL RIGHTS PROJECT
1405 Montopolis Drive                   LUCIA ROMANO
Austin, TX 78741                        Texas State Bar No. 24033013
512-474-5073                            LISA A. SNEAD
                                        Texas State Bar No. 24062204
Thomas Buser-Clancy                     PETER HOFER
Texas Bar No. 24078344                  Texas State Bar No. 09777275
Edgar Saldivar                          DISABILITY RIGHTS TEXAS
Texas Bar No. 24038188                  2222 West Braker Lane
Savannah Kumar                          Austin, Texas 78758-1024
Texas Bar No. 24120098                  (512) 454-4816
Ashley Harris
Texas Bar No. 24123238                  Jerry Vattamala*
ACLU FOUNDATION OF TEXAS, INC.          Susana Lorenzo-Giguere*
5225 Katy Freeway, Suite 350            Patrick Stegemoeller*
Houston, TX 77007                       ASIAN AMERICAN LEGAL DEFENSE
(713) 942-8146                          AND EDUCATION FUND
                                        99 Hudson Street, 12th Floor
Adriel I. Cepeda Derieux*               New York, NY 10013
Ari Savitzky*                           (212) 966-5932
Sophia Lin Lakin*
Dayton Campbell-Harris                  Jessica Ring Amunson*
AMERICAN CIVIL LIBERTIES UNION          Alyssa G. Bernstein*
FOUNDATION                              JENNER & BLOCK LLP
125 Broad St., 18th Floor               1099 New York Ave. NW, Suite 900
New York, NY 10004                      Washington, DC 20001
(212) 284-7334                          (202) 639-6000

Susan Mizner*                           Gregory D. Washington*
AMERICAN CIVIL LIBERTIES UNION          JENNER & BLOCK LLP
FOUNDATION                              455 Market St. Suite 2100
39 Drumm St.
San Francisco, CA 94111
(415) 343-0781
        Case 5:21-cv-00844-XR Document 594 Filed 05/08/23 Page 7 of 12




For LUPE Plaintiffs:                     For HAUL Plaintiffs:

/s/ Nina Perales____________________     /s/ Jennifer Holmes
Nina Perales                             Kenneth E. Broughton
Julia R. Longoria                        Texas Bar No. 03087250
MEXICAN AMERICAN LEGAL DEFENSE AND       J. Keely Pippin*
EDUCATIONAL FUND                         Texas Bar No. 24116306
110 Broadway, Suite 300                  Reed Smith LLP
San Antonio, TX 78205                    811 Main Street, Suite 1700
Telephone: (210) 224-5476                Houston, TX 77002-6110
Facsimile: (210 224-5382                 Telephone: (713) 469-3800
nperales@maldef.org
jlongoria@maldef.org                     Sarah Cummings Stewart
                                         Texas Bar No. 24094609
Michael C. Keats*                        Reed Smith LLP
Rebecca L. Martin*                       2850 N. Harwood Street, Suite 1500
Jason S. Kanterman*                      Dallas, TX 75201
Kevin Zhen*                              (469) 680-4200
FRIED, FRANK, HARRIS, SHRIVER &
JACOBSON LLP                             Jennifer A. Holmes*
One New York Plaza                       NAACP Legal Defense and Educational
New York, New York 10004                 Fund, Inc.
Telephone: (212) 859-8000                700 14th Street NW, Suite 600
                                         Washington, DC 20005
/s/ Sean Morales-Doyle                   (202) 682-1300
Sean Morales-Doyle                       jholmes@naacpldf.org
Eliza Sweren-Becker*
Patrick A. Berry*                        Kathryn Sadasivan*
Andrew B. Garber*                        Amir Badat*
Jasleen K. Singh*                        Victor Genecin*
BRENNAN CENTER FOR JUSTICE AT            Breanna Williams*
NYU SCHOOL OF LAW                        NAACP Legal Defense and Educational
120 Broadway, Suite 1750                 Fund, Inc.
New York, NY 10271                       40 Rector Street, 5th Floor
Telephone: (646) 292-8310                New York, NY 10006
Facsimile: (212) 463-7308                 (212) 965-2200
sean.morales-doyle@nyu.edu
eliza.sweren-becker@nyu.edu              Shira Wakschlag*
patrick.berry@nyu.edu                    The Arc of the United States, Inc.
andrew.garber@nyu.edu                    1825 K Street, NW, Suite 1200
* Admitted pro hac vice                  Washington, DC 20006
                                          (202) 534-3708
                                         *Admitted pro hac vice
        Case 5:21-cv-00844-XR Document 594 Filed 05/08/23 Page 8 of 12




For LULAC Plaintiffs:

/s/ Uzoma N. Nkwonta_______________
Uzoma N. Nkwonta*
Christopher D. Dodge*
Michael B. Jones*
Noah B. Baron*
Elena A. Rodriguez Armenta*
Daniela Lorenzo*
Marcos Mocine-McQueen*
Marisa A. O’Gara*
Omeed Alerasool*
ELIAS LAW GROUP LLP
250 Massachusetts Avenue NW, Suite 400
Washington, D.C. 20001
(202) 968-4490
unkwonta@elias.law
cdodge@elais.law
mjones@elias.law
nbaron@elias.law
erodriguezarmenta@elias.law
dlorenzo@elias.law
mmcqueen@elias.law
mogara@elias.law
oalerasool@elias.law
*Admitted Pro Hac Vice
        Case 5:21-cv-00844-XR Document 594 Filed 05/08/23 Page 9 of 12




For State Defendants:                     For Intervenor-Defendants

KEN PAXTON                                /s/ John M. Gore
Attorney General of Texas                 John M. Gore
                                          E. Stewart Crosland (pro hac vice)
BRENT WEBSTER                             Stephen J. Kenny (pro hac vice)
First Assistant Attorney General          Charles E.T. Roberts
                                          JONES DAY
GRANT DORFMAN                             51 Louisiana Avenue, N.W.
Deputy First Assistant Attorney General   Washington, D.C. 20001
                                          Phone: (202) 879-3939
SHAWN E. COWLES                           Fax: (202) 626-1700
Deputy Attorney General for Civil         jmgore@jonesday.com
Litigation                                scrosland@jonesday.com
                                          skenny@jonesday.com
CHRISTOPHER D. HILTON                     cetroberts@jonesday.com
Chief, General Litigation Division
Tex. State Bar No. 24087727               Counsel for Intervenor-Defendants

/s/ Kathleen T. Hunker
KATHLEEN T. HUNKER
Special Counsel
Tex. State Bar No. 24118415

J. AARON BARNES
Special Counsel
Tex. State Bar No. 24099014

OFFICE OF THE ATTORNEY GENERAL
P.O. Box 12548 (MC-009)
Austin, Texas 78711-2548
(512) 463-2100
christopher.hilton@oag.texas.gov
kathleen.hunker@oag.texas.gov
aaron.barnes@oag.texas.gov
       Case 5:21-cv-00844-XR Document 594 Filed 05/08/23 Page 10 of 12




For Defendant El Paso County Election    Telephone: (224) 235-2606
Administrator:                           EL PASO COUNTY ATTORNEYS
                                         Jo Anne Bernal (TX SBN 02208720)
/s/ Orion Armon                          El Paso County Attorney
Orion Armon (CO SBN 34923)               Joanne.Bernal@epcounty.com
oarmon@cooley.com                        John E. Untereker (TX SBN 24080627)
1144 15th Street, Suite 2300             Assistant County Attorney
Denver, CO 80202-2686                    juntereker@epcounty.com
720 566-4000                             500 East San Antonio, Room 503
                                         El Paso, Texas 79901
COOLEY LLP                               Telephone: +1 915 546-2050
Beatriz Mejia* (CA SBN 190948)           Facsimile: +1 915 546-2133
David Louk* (CA SBN 304654)
Sharon Song* (CA SBN 313535)             *Admitted pro hac vice
Kelsey Spector* (CA SBN 321488)
Germaine Habell* (CA SBN 333090)         For Defendant Harris County Election
Caroline A. Lebel* (CA SBN 340067)       Administrator:
3 Embarcadero Center, 20th Floor
San Francisco, CA 94111-4004             /s/ Tiffany S. Bingham_______________
415 693-2000                             CHRISTIAN D. MENEFEE
                                         Harris County Attorney
STATES UNITED DEMOCRACY                  Texas Bar No. 24088049
CENTER                                   Christian.Menefee@harriscountytx.gov
Christine P. Sun* (CA SBN 218701)        JONATHAN G.C. FOMBONNE
3749 Buchanan St., No. 475165            First Assistant Harris County Attorney
San Francisco, CA 94147-3103             Texas Bar No. 24102702
1 615 574-9108                           Jonathan.Fombonne@harriscountytx.gov
                                         TIFFANY S. BINGHAM
STATES UNITED DEMOCRACY                  Managing Counsel, Affirmative Litigation
CENTER                                   Division
Ranjana Natarajan (TX SBN 24071013)      Texas Bar No. 24012287
1801 E 51st St., Suite 365, No. 334      Tiffany.Bingham@harriscountytx.gov
Austin, TX 78723
(323) 422-8578
                                         OFFICE OF THE HARRIS COUNTY
STATES UNITED DEMOCRACY                  ATTORNEY
CENTER                                   1019 Congress Plaza, 15th Floor
Marina Eisner* (DC SBN 1005593)          Houston, Texas 77002
1101 17 Street NW                        Telephone: (713) 274-5101
Washington, DC 20036                     Facsimile: (713) 755-8924
 (240) 600-1316

STATES UNITED DEMOCRACY
CENTER
Robert Cotter* (IL SBN 6334375)
7510 N. Greenview Ave., Apt. #3
Chicago, IL 60626
       Case 5:21-cv-00844-XR Document 594 Filed 05/08/23 Page 11 of 12




For Defendant Bexar County Election       For Defendants Travis County Clerk and
Administrator:                            District Attorney:

JOE D. GONZALES                           DELIA GARZA
Bexar County Criminal District Attorney   County Attorney, Travis County
                                          P. O. Box 1748
By: /s/ Lisa v. Cubriel                   Austin, Texas 78767
LISA V. CUBRIEL                           Telephone:    (512) 854-9513
State Bar No. 24045731
Assistant District Attorney – Civil       By: /s/ Anthony J. Nelson
Division
LARRY L. ROBERSON                         LESLIE W. DIPPEL
Civil Section Chief                       State Bar No. 00796472
Bexar County District Attorney’s Office   Leslie.Dippel@traviscountytx.gov
101 W. Nueva, 7th Floor                   ANTHONY J. NELSON
San Antonio, Texas 78205-3030             State Bar No. 14885800
Telephone: (210) 335-2142                 Tony.Nelson@traviscountytx.gov
Lisa.Cubriel@bexar.org                    PATRICK T. POPE
lroberson@bexar.org                       State Bar No. 24079151
                                          Patrick.Pope@traviscountytx.gov
For Defendant Hidalgo County Election
Administrator:                            For Defendants Dallas County Elections
                                          Administrator and District Attorney
/s/ Josephine Ramirez-Solis
Josephine Ramirez-Solis                   JOHN CREUZOT
Assistant District Attorney               DISTRICT ATTORNEY
Texas Bar No. 24007894                    DALLAS COUNTY, TEXAS
josephine.ramirez@da.co.hidalgo.tx.us
Leigh Ann Tognetti                        /s/ Ben Stool
Assistant District Attorney               ASSISTANT DISTRICT ATTORNEY
Texas Bar No. 24083975                    TEXAS BAR NO. 19312500
leigh.tognetti@da.co.hidalgo.tx.us        ben.stool@dallascounty.org
100 E. Cano, First Floor
Hidalgo County Courthouse Annex III       BARBARA S. NICHOLAS
Edinburg, Texas 78539                     ASSISTANT DISTRICT ATTORNEY
(956) 292-7609                            TEXAS BAR NO. 24032785
                                          barbara.nicholas@dallascounty.org

                                          CIVIL DIVISION
                                          Dallas County Records Building
                                          500 Elm Street, Suite 6300
                                          Dallas, TX 75202
                                          (214) 653-7358
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                                CERTIFICATE OF SERVICE

        I hereby certify that on May 8, I electronically filed the foregoing with the Clerk of the
court using the CM/ECF system, which will send notification of this filing to counsel of record.



                                              /s/ Daniel J. Freeman
                                              Daniel J. Freeman
                                              Civil Rights Division
                                              U.S. Department of Justice
                                              950 Pennsylvania Ave, NW
                                              Washington, DC 20530
                                              (202) 305-4355
                                              daniel.freeman@usdoj.gov
